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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
DMP:JAM/CRH/ADR/MS                                  271 Cadman Plaza East
F. #2019R01707                                      Brooklyn, New York 11201


                                                    August 6, 2024


By ECF and Email

The Honorable Hector Gonzalez
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:      United States v. Vadim Konoshchenok
                       Criminal Docket No. 22-409 (HG)

Dear Judge Gonzalez:

               The government respectfully submits this letter in response to the defendant
Vadim Konoshchenok’s motion to dismiss the indictment as to him in the above case. See ECF
Dkt. No. 138. For the reasons stated in the defendant’s motion, the government does not oppose
dismissal of the indictment as to the defendant. However, the government requests that such
dismissal be without prejudice.

               As described in the Executive Grant of Clemency, attached hereto as Exhibit A,
the pardon granted to the defendant is conditioned on a number of terms, including, for example,
that the defendant “remain outside the limits of the United States” and that he “not commit any
additional crime against the United States or in violation of the laws of the United States,”
among other terms. Exhibit A at 1. Should the defendant violate any of those terms, the pardon
“may be voided in its entirety.” Id. The government therefore respectfully requests that
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dismissal of the indictment as to the defendant be granted without prejudice in case his pardon
should at any time be voided.

                                                    Respectfully submitted,

                                                    BREON PEACE
                                                    United States Attorney

                                             By:            /s/
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                                                    Craig R. Heeren
                                                    Andrew D. Reich
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cc:    Clerk of Court (HG) (by ECF and Email)
       Sabrina P. Shroff, Esq. (by ECF and Email)




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